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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                         Case No.: 16-20897-CR-SEITZ

  UNITED STATES OF AMERICA

                  v.

  PRINCESS CRUISE LINES, LTD.,

           Defendant.
                                                   /

               AGREED ORDER ON OCTOBER 16, 2020 STATUS CONFERENCE

           On October 16, 2020, this Court held a quarterly Status Conference via virtual means due

  to the ongoing COVID-19 pandemic. The Court continues to recognize the significant impacts

  of COVID-19 on the operations and financial resources of the Defendant, its parent corporation,

  and related corporate entities (collectively, the “Company”), as well as the Company’s ongoing

  obligation, despite these impacts, to comply with the Terms and Conditions of Probation. See

  [DE 200 at 1-2]. At the October 16, 2020, hearing, the Company reiterated its commitment to

  compliance and environmental protection despite its present challenges, a commitment it also

  expressed to the Court at the hearings on April 24, 2020, and July 29, 2020.

           Upon consideration of the record, and taking into account statements made by the Parties,

  Court Appointed Monitor (“CAM”), and Third Party Auditor (“TPA”), at the October 16, 2020,

  Status Conference, it is hereby ORDERED that:

           Prior to the first time after the date of this Order that a Covered Vessel, as defined in the

  Environmental Compliance Plan (“ECP”) [DE 2-2], returns to the territorial waters of the United

  States (“U.S. Waters”), the Company shall submit to the Interested Parties, 1 CAM, and TPA, no


  1
    The Interested Parties are “the Government, the United States Probation Office for the Southern District of Florida,
  the Seventh Coast Guard District (dp), and the U.S. Coast Guard Office of Investigations & Analysis.” ECP § I.D.
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  less than 30 days in advance of each Covered Vessel’s planned entry to U.S. Waters, 2 a

  certification signed by the Company’s Chief Executive Officer as to the status of the items listed

  below from the Company’s Pause Priorities Plan for such Covered Vessel. To the extent the

  status of any item is incomplete, the certification shall include a detailed explanation, including a

  specific plan (including any alternative plan to achieve the same ends of the incomplete task) and

  timeframe for addressing the item.

          a. Pollution Prevention Equipment

                  i.    Shipboard and shoreside preparations (e.g., equipment purchases, piping
                        reconfigurations) for carrying out the commitment to install food waste
                        digesters on ships within 60 days of return to service;
                 ii.    Installing the full set of food waste digesters per the January 2020 plan and
                        Court submission;
                iii.    Identifying and assessing repairs needed to improve reliable operation of
                        pollution prevention equipment 3 and proposing schedules for completion of
                        work, as well as completing repairs based on these identified repair needs;
                iv.     Completing all significant repairs 4 to pollution prevention equipment;
                 v.     Completing Advanced Air Quality System leak repairs;
                vi.     Repairing/replacing regular leaking piping/components 5 to reduce the volume
                        of bilge water generated; and
                vii.    Repairing major pipe system changes 6 to reduce the volume of bilge water
                        generated.

          b. Spare Parts

               viii.    Providing a full set of critical environmental spare parts for pollution
                        prevention equipment.

          c. Staffing

                ix.     Ensuring a full Table of Personnel or crew complement in deck and technical
                        teams before returning to service; and


  2
    If a Covered Vessel anticipates entering U.S. Waters before December 31, 2020, the Company shall immediately
  notify the Interested Parties, CAM, and TPA, and shall provide the information required by this Order no less than 7
  days after the date of entry.
  3
    The Company’s certification shall include its definition of “repairs needed to improve reliable operation of
  pollution prevention equipment.”
  4
    The Company’s certification shall include its definition of “significant repairs.”
  5
    The Company’s certification shall include its definition of “regular leaking piping/components.”
  6
    The Company’s certification shall include its definition of “major pipe system changes.”

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                 x.     Ensuring a designated engineer for Advanced Air Quality Systems is onboard
                        equipped ships before returning to service.

           d. IT Support and Voyage Planning

                 xi.    Developing and implementing the new voyage and environmental planning
                        software tool. 7

           e. Waste Offload Support

                xii.    Assessing each waste vendor in accordance with the Company’s internal
                        procedure (Global HESS ENV-1004) for each waste vendor that the Covered
                        vessel returning to U.S. Waters intends to use to dispose of waste during its
                        planned itinerary, and, where required and if feasible, conducting site visits. 8


           Should the Court determine additional review is needed to verify or validate the

  information provided in the certification, the Court will utilize the Interested Parties, the TPA,

  and/or the CAM to undertake such a review. The Company shall cooperate with the Interested

  Parties, CAM, and TPA to facilitate their ability to perform such a review, including complying

  with reasonable requests for access to: records, logbooks, and other documents; personnel;

  physical spaces and equipment; and electronic databases and systems.

           Nothing in this Order relieves the Company of the requirements imposed by applicable

  international, flag state, port state, coastal state, and United States laws, or other applicable law,

  or the Terms and Conditions of Supervision, including the ECP.

           DONE AND ORDERED in Miami, Florida, this 21st day of October, 2020.


                                                        _________________________________
                                                        PATRICIA A. SEITZ
                                                        UNITED STATES DISTRICT JUDGE

  7
    In the event the software is not implemented on the Covered Vessel at the time of certification, and in accord with
  the instruction above, the Company shall provide its process to be used to develop and implement the voyage plan
  for that Covered Vessel’s planned itinerary.
  8
    In addition, the Company shall provide with its certification a list of all outstanding or postponed Planned
  Maintenance System items for the Covered Vessel at the time of certification. The Company is not required to
  submit a specific plan for addressing these items.

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  cc:   All Counsel of Record




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